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                      IN THE DISTRICT COURT OF TULSA COUNTY
                                STATE OF OKLAHOMA

EDDYL. PATTERSON and                             )
JUDITH R. PATTERSON,                             )
                                                 )
                Plaintiffs,                      )       Case No. CJ          2005         07 3 43
                                                 )
v.                                               )       JURY TRIAL DEMANDED
                                                 )                 DEBORAH C. SHALLCROSS
LINDSEY K. SPRINGER, individually,               )
and LINDSEY K. SPRINGER, d/b/a                   )                            DIS!.FRIGr GOURT
BONDAGE BREAKERS MINISTRIES,
OSCAR STILLEY, and JEROLD W.
                                                 )
                                                 )
                                                                           FILED
BARRINGER, individuals,                          )                             OEe 1 S 2005
                                                 )
                Defendants.                      )                        SALLY wow/! SMITH, OOURT CLERK
                                                                           STATE OF OKLA. TULSA COUNTY


                                              PETITION

        COME NOW the Plaintiffs, by and through their attorneys, The Richardson Law Firm, by Richard

D. Marrs and E. Diane Hinkle, and for their causes of action and claims against the Defendants, allege and

state as follows:

                                   JURISDICTION AND VENUE

        1. At all times pertinent hereto, Plaintiffs, Eddy L. Patterson ("Eddy Patterson") and JudithR.
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Patterson ("Judith Patterson"), husband and wife, were residents of Tulsa County, Oklaho~.a.
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        2. Upon information and belief, Defendant, Lindsey K. Springer ("Defendant Springet:), is a

resident of Creek County, Oklahoma, and may be served with summons within Creek County, Oklahoma.                          -
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                                                                                                                                  .•. .,:




        3.   Upon information and belief, Defendant, Lindsey K. Springer, d/b/a Bondage Breakers

Ministries, is located in Sapulpa, Oklahoma, and may be served with summons by serving Lindsey

Springer, since he does business as Bondage Breakers Ministries.

        4. Upon information and belief, Defendant, Oscar Stilley ("Defendant Stilley"), is a resident of
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Ft. Smith, Arkansas, is licensed to practice law in Oklahoma and Arkansas, and may be served with

mmmons at 5111 Rogers Ave., Suite 520, Ft. Smith, Arkansas 72903.

         5. Upon information and belief, Defendant, Jerold W. Barringer ("Defendant Barringer"), is a

resident of Illinois, is licensed to practice law in illinois and may be served with summons at the Barringer

Law Office, 102 South Pine Street, Nokomis, Illinois 62075.

        6. The events alleged herein occurred primarily in Tulsa County, Oklahoma, and all Defendants

are either residents of, have conducted and/or are conducting business in Tulsa County, Oklahoma.

        7. The District Court in and for Tulsa County, State of Oklahoma, has personal and subject matter

jurisdiction, and venue is proper in this Court.

                              FACTS PERTAINING TO ALL CLAIMS

        Plaintiffs incorporate by reference Paragraphs 1 through 7 as if fully set out herein, and

further allege, as follows:

        8.   On December 16, 2003, a criminal jury sitting in the United States District Court for the

Northern District ofOklahomaretumed guilty verdicts against Eddy and Judith Patterson for felony counts

of conspiracy to defraud the United States, fraud and false statements, filing false federal income tax returns,

and willful failure to file federal income tax returns. The sentences handed down against Eddy and Judith

Patterson included time in federal correctional facilities. Judith Patterson served five (5) months of an 18-

month sentence before being released after a reduction in sentence. Eddy Patterson remains incarcerated.

        9. Prior to being indicted by a federal grand jury, Eddy and Judith Patterson were hard-working

United States citizens, had achieved the American dream of financial success, and had never been in

criminal trouble. In 1996, afterhavingreadRichardE.        Clark's book, Never Fear the IRSAgain, which

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proselytizes not paying federal individual income taxes, Eddy Patterson stopped paying individual federal

income taxes and became a tax protester.        Judith Patterson allowed Eddy to handle all tax matters and


followed Eddy Patterson's      advice.    Once the United States Internal Revenue Service ("IRS") began

collection proceedings, Eddy Patterson consulted Richard E. Clark and requested help. Richard E. Clark


told Eddy Patterson to contact Defendant Springer in Sapulpa, Oklahoma, who Richard E. Clark advised

was experienced     in these types of matters.        Eddy Patterson         contacted   Defendant   Springer who

introduced Eddy and Judith Patterson to Defendants             Stilley and Barringer, both attorneys at law. Eddy


Patterson was advised by all Defendants that he should "un-vohinteer"             from paying taxes to the IRS and


allow Defendants Springer, Stilley and Barringer to represent and advise them as how to avoid paying taxes

with no civil or criminal exposure.      In keeping with their advice, Eddy and Judith Patterson retained the


Defendants to represent their legal and fmancial interests and paid them large sums of money to represent

them.


        10.   The Pattersons       did not pay their income taxes for the years 1996, 1997, 1998, and 1999


relying upon the advice of Springer, Stilley and Barringer that, if criminal charges were filed, they would

never be convicted nor would they ever go to prison. As a result of the Pattersons un-volunteering           from

compliance with the Internal Revenue Code, and accepting the advice and guidance of all Defendants, the

Pattersons were indicted by a federal grand jury in 2002, and convicted of tax evasion and related offenses


in December 2003. Following indictment, Defendant Stilley represented Eddy Patterson as legal counsel,


and Defendant Barringerrepresented         Judith Patterson.     Defendant    Springer, although not an attorney,

continued to provide legal and other advice to the Pattersons and worked in coordination with Defendants


Stilley and Barringer.   Defendant Springer received payments for legal fees from Eddy Patterson which

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were marked as contributions to his ministry. Defendants Stilley and Barringer also received large sums

of money as payment for legal fees.

         11. In addition to billing the Pattersons for substantial legal fees, Defendants made unconditional

promises to the Plaintiffs that they would never be convicted and nor would they ever go to prison.

Defendant Springer advised the Pattersons that "God sent us" to do God's will and that paying federal

income tax was unconstitutional and wrong. The Pattersons sincerely believed that they had done nothing

wrong or illegal based on the representations made by Defendants Springer, Stilley and Barringer. Stilley

and Barringer guaranteed the Plaintiffs that if indicted, they would be acquitted and never serve any time

in prison.    After the convictions, the Pattersons learned the truth that they had been deceived and

defrauded. The Pattersons lost their freedom, their wealth, their success, and their lifestyle.

                                                 COUNT I

                                       LEGAL MALPRACTICE

        Plaintiffs incorporate by reference Paragraphs 1 through 11 as if fully set out herein, and

further allege, as follows:

        12.     During legal proceedings against the Pattersons in federal court pursuant to felony

indictments, Defendant Stilley and Defendant Barringer were licensed attorneys, and admitted to practice

in the United States District Court for the Northern District of Oklahoma Defendant Stilley acted as legal

counsel for Eddy Patterson, and Defendant Barringer acted as legal counsel for Judith Patterson at all times

up to, and including, the criminal convictions. The legal representation of each attorney was later terminated

by Eddy Patterson and Judith Patterson. Both Defendant Stilley and Defendant Baninger committed legal

malpractice, and but for the malpractice of Defendants Stilley and Barringer, the Pattersons would not have

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been convicted and/or been incarcerated. Plea offers were made by the prosecution to Defendants Stilley

and Barringer, who each had a duty to convey the offers to their respective clients; however, those offers

were never conveyed to their clients, Eddy Patterson and Judith Patterson and had they been conveyed,

the Pattersons would not have been convicted and/or been incarcerated.

        13. After Judith Patterson terminated Defendant Barringer's services as her attorney, Defendant

Barringer continued to representto the court that he was Judith Patterson's attorney, and filed a notice of

appeal purportedly on Judith Patterson's behalf. As a result, the judge ordered Defendant Barringer to

show cause as to why he should not be held in contempt of court. The ruling on the contempt is pending.

        14. Both Defendants Stilley and Barringer assisted Defendant Springer in the unauthorized

practice oflaw. Springer was permitted to participate in the proceedings to such an extent that Springer

was making the ultimate decisions that should have been made by the Pattersons as clients; however, the

Pattersons were denied the opportunity. Furthermore, Defendant Springer made strategic decisions, and

conducted the litigation as "lead counsel." Defendants Stilley and Barringer committed malpractice by

taking orders from Defendant Springer, who was not their client, not a lawyer, and who was not acting in

the best interests of the Pattersons.

        15. Throughout the time in which Stilley and Barringer were representing Eddy and Judith

Patterson's legal interest, Defendant Springer was acting as an agent, servant and/or employee of

Defendants Stilley and Barringer.

        16. Because of the malpractice of Defendants Stilley and Barringer, Plaintiffs are entitled to

damages in excess of$10,000.00.

                                               COUNT II

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                                                FRAUD AND DECEIT


        Plaintiffs   incorporate        by reference Paragraphs     1 through   15 as if fully set out herein, and

further allege, as follows:

        16.   Defendants, and each of them, made false representations             of material fact to the Pattersons.

Defendants knew that these positive assertions were false. Defendants intended for the Pattersons to act

upon these false assertions,        which they did, to their detriment.     Defendants     conspired   to defraud the


Pattersons of their money by reassuring them with false promises, including promises that they would never

be convicted and or go to prison and such promises were made with the intent to deprive the Plaintiffs of

their money and to obtain the Plaintiffs' money by charging excessive attorney fees. Defendants Stilley and

Barringer failed to communicate plea offers to the Pattersons, which was deceitful and the plea offers were


not conveyed because the Defendants wanted to obtain the Plaintiffs' money by charging excessive attorney

fees.


        17. Defendants'       acts and omissions were done with the intent of inducing the Plaintiffs to alter

their position to one of substantial risk and injury, for which they have suffered compensable            damages in

excess of $10,000.00.

                                                       COUNT III

                                                       CIVIL RICO

        Plaintiffs   incorporate        by reference   Paragraphs   1 through   17 as if fully set out herein, and

further allege, as follows:

        18. Defendants engaged ina pattern of racketeering              activity designed to exert undue influence


over the Plaintiffs and extort money from them. The pattern of activity included a plan to challenge the

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[ntemal Revenue Code of the United States, and establish legal precedent, at Plaintiffs' expense.

Defendants used the United States mail and the telephone to carry on theirpattem of racketeering activities.

Defendants sent billing invoices to the Plaintiffs through the United States mail. These billing invoices were

part of Defendants ' racketeering activities and plan to bilk PI"intiffs out of their money. Furthermore,

Defendants used the telephone to communicate with each other to expedite their fraudulent scheme.

Defendants, Stilley and Barringer, billed Eddy and Judith Patterson for numerous telephone calls to

Defendant, Lindsey Springer, who was being paid for "running the show." The conduct of Defendants, and

each of them, was in violation of the United States Code governing Racketeer Influenced and Corrupt

Organizations.

        19. Plaintiffs' business and property were harmed as a result of Defendants ' activities, for which

Plaintiffs are entitled to damages in excess of$10,000.00.

                                        PUNITIVE DAMAGES


           Plaintiffs incorporate by reference Paragraphs 1 through 19 as if fully set out herein, and

further allege, as follows:

        20. Defendants acted with reckless disregard for the rights of the Plaintiffs. Plaintiffs suffered

actual damages as a result for which Defendants should be punished. For the reasons above-stated,

Plaintiffs seek punitive damages in excess of$10,000.00.

                                                 PRAYER

        WHEREFORE, premises considered, Plaintiffs pray forjudgment against the Defendants, jointly

and severally, for actual damages and punitive damages, costs of court, attorney's fees, and such other and

further relief to which Plaintiffs may be entitled.

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                                   (918) 493-1925 Facsimile
                                   Attorneys for PlaintiJJs




                                                           t Sally Howe Smilh, Court Clerk, for Tulsa (oumy, Oklohomo,
                                                           heleb~ certify thot the foregoing is a true, correct and full
                                                           copy of the instrument herewith ser out as oppeors on recard
                                                           in the Court Oelk's Office 01 TUlsa County, Oklohamo, this

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